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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                              NO. CR15-259-MJP

 9                                  Plaintiff,

10          v.
                                                            DETENTION ORDER
11   EDUARDO L. GUZMAN-VALENZUELA,
12
                                    Defendant.
13

14   Offense charged:
15          Count 1:       Conspiracy to Distribute Controlled Substances
16
     Date of Detention Hearing: August 18, 2015
17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
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                    defendant is a flight risk and a danger to the community based on the nature of
22
                    the pending charges. Application of the presumption is appropriate in this case.
23
            2.      Defendant is not a citizen but has green card status.
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            3.      If convicted, defendant is likely to be deported following any term of
25
                    imprisonment.
26

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 1         4.    The evidence against the defendant, although the least significant factor, is very

 2               strong and cannot be ignored.

 3         5.    Defendant has family ties in Mexico.

 4         6.    Defendant aided a fugitive in Mexico about one year previously.

 5         7.    Defendant is a risk of flight that cannot be resolved by conditions or

 6               combination of conditions short of detention.

 7         IT IS THEREFORE ORDERED:
 8         (1)   Defendant shall be detained and shall be committed to the custody of the
 9               Attorney General for confinement in a correction facility separate, to the extent
10               practicable, from persons awaiting or serving sentences or being held in custody
11               pending appeal;
12         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
13               counsel;
14         (3)   On order of a court of the United States or on request of an attorney for the
15               government, the person in charge of the corrections facility in which defendant
16               is confined shall deliver the defendant to a United States Marshal for the
17               purpose of an appearance in connection with a court proceeding; and
18         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
19               counsel for the defendant, to the United States Marshal, and to the United States
20               Pretrial Services Officer.
21         DATED this 18th day of August, 2015.
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                                                 A
                                                 JAMES P. DONOHUE
24                                               Chief United States Magistrate Judge

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